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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                                    CRIMINAL ACTION

VERSUS                                                                                   No. 10-222

BRIAN TURNER                                                                           SECTION I



                                    ORDER AND REASONS

       Before the Court is a pro se motion1 filed by petitioner, Brian Turner, to vacate, set aside,

or correct his sentence pursuant to 28 U.S.C. § 2255. The government opposes Turner’s motion and

requests that the Court deny it without an evidentiary hearing.2 For the following reasons, the motion

is DENIED.

                                         BACKGROUND

       On August 12, 2010, a grand jury returned a 28-count indictment against Turner and 13 co-

defendants. Count 1 charged Turner and his co-defendants with conspiracy to possess with the intent

to distribute 50 grams or more of cocaine base and 500 grams or more of cocaine hydrochloride, in

violation of 21 U.S.C. § 841(a)(1), (b)(1)(A), and (b)(1)(B), all in violation of 21 U.S.C. § 846.

Count 20 charged Turner with using a telephone to commit conspiracy to possess with the intent to

distribute cocaine base and cocaine hydrochloride, in violation of 21 U.S.C. § 843(b).3 A February




1
 R. Doc. No. 650.
2
 R. Doc. No. 655, at 1.
3
 R. Doc. No. 1.

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4, 2011 superseding indictment charged Turner in counts 1 and 20 with the same crimes.4 Turner

pleaded guilty to count 15 pursuant to a plea agreement, in which he waived his right to bring a

“Section 2255 motion, on any ground, except that the defendant may bring a post conviction claim

if the defendant establishes that ineffective assistance of counsel directly affected the validity of this

waiver of appeal and collateral challenge rights or the validity of the guilty plea itself.”6

        At the time that Turner pleaded guilty, he was informed that the statutory penalty associated

with his conviction was a minimum of 10 years in prison and a maximum of life imprisonment.7

However, the application of the Fair Sentencing Act and the Supreme Court’s decision in Dorsey

yielded a statutory range of 5-40 years’ imprisonment at the time of sentencing.8 The Presentence

Investigation Report (“PSR”) designated Turner a career offender pursuant to U.S.S.G. § 4B1.1, and

the Court calculated a guidelines range of 188-235 months in prison.9 On June 4, 2013, the Court

sentenced Turner to 188 months in prison. Turner filed the instant motion on August 20, 2013.




4
 R. Doc. No. 233.
5
 R. Doc. No. 459.
6
 R. Doc. No. 462, at 3.
7
 R. Doc. No. 462, at 2.
8
 See 21 U.S.C. § 841(b)(1)(B).
9
 R. Doc. No. 475, at 33; R. Doc. No 620, at 3.

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                                      STANDARD OF LAW

I. Overview of § 2255

       Section 2255(a) provides a prisoner in custody with four grounds upon which relief may be

granted: (1) “that the sentence was imposed in violation of the Constitution or laws of the United

States;” (2) “that the court was without jurisdiction to impose such sentence;” (3) “that the sentence

was in excess of the maximum authorized by law;” or (4) that the sentence “is otherwise subject to

collateral attack.” 28 U.S.C. § 2255(a); see Hill v. United States, 368 U.S. 424, 426-27 (1962).

Section 2255 is designed to remedy constitutional errors and other injuries that could not be brought

on direct appeal and would result in injustice if left unaddressed. See United States v. Williamson,

183 F.3d 458, 462 (5th Cir. 1999). “[A] proceeding under Section 2255 is an independent and

collateral inquiry into the validity of the conviction . . . .” United States v. Hayman, 342 U.S. 205,

222-23 (1952). The inquiry does not extend to the misapplication of sentencing guidelines. See

Williamson, 183 F.3d at 462.

       “The § 2255 remedy is broad and flexible, and entrusts to the courts the power to fashion an

appropriate remedy.” United States v. Garcia, 956 F.2d 41, 45 (4th Cir. 1992) (citing Andrews v.

United States, 373 U.S. 334, 339 (1963)). Pursuant to § 2255, the Court must grant a petitioner a

hearing to determine the issues and make findings of fact and conclusions of law unless “the motion,

files, and records of the case conclusively show that the prisoner is entitled to no relief.” United

States v. Bartholomew, 974 F.2d 39, 41 (5th Cir. 1992).

       “The Supreme Court has emphasized repeatedly that a collateral challenge may not do

service for an appeal.” United States v. Shaid, 937 F.2d 228, 231 (5th Cir. 1991) (quotation omitted).

“[T]he general rule [is] that claims not raised on direct appeal may not be raised on collateral review


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unless the petitioner shows cause and prejudice” or actual innocence. Massaro v. United States, 538

U.S. 500, 504 (2003); Bousley v. United States, 523 U.S. 614, 622 (1998). The Supreme Court has

held that “failure to raise an ineffective-assistance-of-counsel claim on direct appeal does not bar

the claim from being brought” in a § 2255 proceeding. Massaro, 538 U.S. at 509; see, e.g., United

States v. Johnson, 124 F. App’x 914, 915 (5th Cir. 2005).

II. Ineffective Assistance of Counsel

       The United States Supreme Court set forth the standard for judging the performance of

counsel in Strickland v. Washington, 466 U.S. 668 (1984). In Strickland, the Court articulated a

two-part test that requires the petitioner to prove (1) deficient performance and (2) resulting

prejudice. Id. at 697.

       Deficient performance is established by “show[ing] that counsel’s representation fell below

an objective standard of reasonableness.” Id. at 688. In applying this standard, a “court must indulge

a ‘strong presumption’ that counsel’s conduct falls within the wide range of reasonable professional

assistance because it is all too easy to conclude that a particular act or omission of counsel was

unreasonable in the harsh light of hindsight.” Bell v. Cone, 535 U.S. 685, 702 (2002) (quoting

Strickland, 466 U.S. at 689).

       The second prong of the Strickland test looks to the prejudice caused by counsel’s allegedly

deficient performance. This requires “a reasonable probability that, absent the errors, the factfinder

would have had a reasonable doubt respecting guilt.” United States v. Mullins, 315 F.3d 449, 456

(5th Cir. 2002) (quoting Strickland, 466 U.S. at 687). The petitioner must show that his “counsel’s

errors were so serious as to deprive the defendant of a fair trial, a trial whose result is reliable.”

Strickland, 466 U.S. at 687. A petitioner who pleaded guilty must show “that there is a reasonable


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probability that, but for counsel’s errors, he would not have pleaded guilty and would have insisted

on going to trial.” United States v. Glinsey, 209 F.3d 386, 392 (5th Cir. 2000) (quoting Hill v.

Lockhart, 474 U.S. 52, 59 (1985)).

           The petitioner must satisfy both prongs of the Strickland test in order to be successful on an

ineffective assistance claim. See Strickland, 466 U.S. at 697. A court is not required to address these

prongs in any particular order. Id. If it is possible to dispose of an ineffective assistance of counsel

claim without addressing both prongs, “that course should be followed.” Id.

                                               ANALYSIS

           Turner seeks relief based on two grounds. In Ground One, he alleges that his counsel was

ineffective for failing to object to his career offender designation at sentencing.10 In Ground Two,

he alleges that his counsel was ineffective for failing to advise him that he would be designated a

career offender, which rendered his guilty plea unknowing and involuntary.11

           Turner’s plea agreement expressly waives his right to bring a § 2255 motion unless he

demonstrates that ineffective assistance affected the validity of that waiver or the validity of the

guilty plea itself. With respect to Ground One, Turner “has presented no evidence or argument to

suggest that his attorney’s investigation of his prior offenses and failure to object to his status as a

career offender affected the validity of his waiver of appeal and collateral challenge rights or the

validity of the guilty plea.” United States v. Bell, No. 09-08, 2011 WL 3240767 (E.D. La. July 29,




10
     R. Doc. No. 650, at 4.
11
     R. Doc. No. 650, at 5.

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2011) (citing United States v. White, 307 F.3d 336, 341 (5th Cir. 2002)).12 Accordingly, the request

for relief presented in Ground One must be denied.

          With respect to Ground Two, Turner asserts that his plea was unknowing and involuntary

because counsel failed to inform him before he pleaded guilty that he could be sentenced as a career

offender.13 Turner was well aware, however, of the maximum sentence he faced.14 “The fact that a

defendant does not know that the career criminal provisions of Sentencing Guidelines may increase

his sentence within that statutory range does not render his plea involuntary or unknowing.” United

States v. Adkins, No. 94-10120, 1994 WL 733505, at *3 (5th Cir. Dec. 28, 1994). “Even assuming

counsel failed to inform petitioner of the risks attendant to classification as a career criminal,

petitioner’s rights were not prejudiced.” United States v. Green, No. 02-60053, 2008 WL 3836726,

at *14 (W.D. La. July 26, 2008). Turner has failed to allege facts sufficient to fulfill the prejudice

prong under Strickland, and the Court need not address whether counsel’s performance was deficient

to conclude the relief sought in Ground Two is unavailable. See id. (citing cases); see also United

States v. McKnight, 570 F.3d 641,647-48 (5th Cir. 2009).




12
  Turner acknowledges his waiver, and he argues only that “Turner did reserve[] his right to bring
a direct appeal of any sentence imposed in excess of the statutory maximum.” R. Doc. No. 650, at
17. However, “[t]he career criminal provisions of the Sentencing Guidelines do not increase the
statutory maximum penalty.” United States v. Pearson, 910 F.2d 221, 223 (5th Cir. 1990).
13
     R. Doc. No. 650, at 21.
14
  In his own words, “Turner does not claim that he was ignorant of the potential 20-year maximum
sentence.” R. Doc. No. 650, at 38. In addition to reiterating the maximum potential sentence Turner
initially faced, his plea agreement states,“The defendant understands that any discussions with
defendant’s attorney or anyone else regarding sentencing guidelines are merely rough estimates and
the Court is not bound by those discussions. . . . The defendant understands the Court could impose
the maximum term of imprisonment and fine allowed by law . . . .” R. Doc. No. 462, at 3.

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                                       CONCLUSION

       The motion, files, and records of the case conclusively show that Turner is entitled to no

relief. Accordingly,

       IT IS ORDERED that the motion is DENIED.



       New Orleans, Louisiana, September 30, 2013.


                                                    __________________________________
                                                          LANCE M. AFRICK
                                                    UNITED STATES DISTRICT JUDGE




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